USCA11  Case: 23-12958 Document: 95 Date Filed: 06/24/2024                Page: 1 of 3
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                             Office of the Clerk
                          ashington, DC 20543-0001
                                                                    Scott S. Harris
                                                                    Clerk of the Court
                 g3                                                 (202)479-3011
  .ATLANTA
                                    June 20, 2024



Clerk
United States Court of Appeals for the Eleventh
Circuit
56 Forsyth Street, N.W.
Atlanta, GA 30303



          Re: Mark Randall Meadows
                V. Georgia
                Application No. 23A1029.
                (Your No. 23-12958)/-/K

Dear Clerk:

      The application for a further extension of time in the ahove-entitled
case has been presented to Justice Thomas, who on June 20, 2024, extended
the time to and including July 27, 2024.

          This letter has been sent to those designated on the attached
notification fist.




                                           Sincerely,

                                           Scott S. Harris, Clerk




                                           Redmond K. Barnes
                                            Case Analyst
USCA11 Case: 23-12958     Document: 95    Date Filed: 06/24/2024    Page: 2 of 3


             Supreme Court of the United States
                         Office of the Clerk
                   Washington,DC 20543-0001
                                                              Scott S. Harris
                                                              Clerk of the Court

                           NOTIFICATION LIST



Mr. Paul D., Clement
Clement & Murphy,PLLC
706 Duke Street
Alexandria, VA 22314



Clerk
United States Court of Appeals for the Eleventh Circuit
56 Forsyth Street, N.W.
Atlanta, GA 80308
                USCA11 Case: 23-12958     Document: 95   Date Filed: 06/24/2024   Page: 3 of 3
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